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                                       UNITED STATES BANKRUPTCY COURT
                                                Southern DISTRICT OF New York



In Re. 96 Wythe Acquisition LLC                                     §                  Case No. 21-22108
                                                                    §
                                                                    §
                      Debtor(s)                                     §
                                                                                           Jointly Administered

Monthly Operating Report                                                                                                  Chapter 11

Reporting Period Ended: 03/31/2022                                                       Petition Date: 02/23/2021

Months Pending: 13                                                                       Industry Classification:    0    0   0   0

Reporting Method:                              Accrual Basis                      Cash Basis

Debtor's Full-Time Employees (current):                                          0

Debtor's Full-Time Employees (as of date of order for relief):                   0



Supporting Documentation (check all that are attached):
(For jointly administered debtors, any required schedules must be provided on a non-consolidated basis for each debtor)

        Statement of cash receipts and disbursements
        Balance sheet containing the summary and detail of the assets, liabilities and equity (net worth) or deficit
        Statement of operations (profit or loss statement)
        Accounts receivable aging
        Postpetition liabilities aging
        Statement of capital assets
        Schedule of payments to professionals
        Schedule of payments to insiders
        All bank statements and bank reconciliations for the reporting period
        Description of the assets sold or transferred and the terms of the sale or transfer




/s/ David Goldwasser                                                         .David Goldwasser
Signature of Responsible Party                                               Printed Name of Responsible Party
05/13/2022
Date
                                                                             3284 N 29th Ct Hollywod FL 33020
                                                                             Address



STATEMENT: This Periodic Report is associated with an open bankruptcy case; therefore, Paperwork Reduction Act exemption 5 C.F.R.
§ 1320.4(a)(2) applies.

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Debtor's Name 96 Wythe Acquisition LLC                                                             Case No. 21-22108


Part 1: Cash Receipts and Disbursements                                            Current Month            Cumulative

a.   Cash balance beginning of month                                                        $3,160,489
b.   Total receipts (net of transfers between accounts)                                     $1,992,339                   $0
c.   Total disbursements (net of transfers between accounts)                                $2,423,853                   $0
d.   Cash balance end of month (a+b-c)                                                      $2,728,975
e.   Disbursements made by third party for the benefit of the estate                                  $0                 $0
f.   Total disbursements for quarterly fee calculation (c+e)                                $2,423,853                   $0
Part 2: Asset and Liability Status                                                 Current Month
(Not generally applicable to Individual Debtors. See Instructions.)
a. Accounts receivable (total net of allowance)                                                $44,122
b.   Accounts receivable over 90 days outstanding (net of allowance)                                  $0
c.   Inventory       ( Book        Market      Other       (attach explanation))              $263,767
d    Total current assets                                                                   $3,637,258
e.   Total assets                                                                          $95,614,382
f.   Postpetition payables (excluding taxes)                                                $2,144,688
g.   Postpetition payables past due (excluding taxes)                                                 $0
h.   Postpetition taxes payable                                                               $252,316
i.   Postpetition taxes past due                                                                      $0
j.   Total postpetition debt (f+h)                                                          $2,397,004
k.   Prepetition secured debt                                                              $83,517,770
l.   Prepetition priority debt                                                                        $0
m. Prepetition unsecured debt                                                                         $0
n.   Total liabilities (debt) (j+k+l+m)                                                    $85,914,774
o.   Ending equity/net worth (e-n)                                                          $9,699,608

Part 3: Assets Sold or Transferred                                                 Current Month           Cumulative


a.   Total cash sales price for assets sold/transferred outside the ordinary
     course of business                                                                               $0                 $0
b.   Total payments to third parties incident to assets being sold/transferred
     outside the ordinary course of business                                                          $0                 $0
c.   Net cash proceeds from assets sold/transferred outside the ordinary
     course of business (a-b)                                                                         $0                 $0

Part 4: Income Statement (Statement of Operations)                                 Current Month           Cumulative
(Not generally applicable to Individual Debtors. See Instructions.)
a. Gross income/sales (net of returns and allowances)                                       $1,540,117
b.   Cost of goods sold (inclusive of depreciation, if applicable)                            $820,849
c.   Gross profit (a-b)                                                                       $719,268
d.   Selling expenses                                                                         $141,706
e.   General and administrative expenses                                                      $274,991
f.   Other expenses                                                                           $213,768
g.   Depreciation and/or amortization (not included in 4b)                                            $0
h.   Interest                                                                                       $0
i.   Taxes (local, state, and federal)                                                        $100,050
j.   Reorganization items                                                                     $278,953
k.   Profit (loss)                                                                           $-289,701                   $0


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Debtor's Name 96 Wythe Acquisition LLC                                                                       Case No. 21-22108

Part 5: Professional Fees and Expenses

                                                                                  Approved      Approved        Paid Current       Paid
                                                                                Current Month   Cumulative         Month         Cumulative
a.     Debtor's professional fees & expenses (bankruptcy) Aggregate Total            $259,428      $294,428          $259,428       $294,428
       Itemized Breakdown by Firm
                Firm Name                         Role
       i        Leitner Berman Inc.               Financial Professional              $13,500       $48,500           $13,500        $48,500
       ii       Huebscher Consulting Corp         Special Counsel                     $87,679       $87,679           $87,679        $87,679
       iii      Locke Lord LLP                    Special Counsel                    $158,249      $158,249          $158,249       $158,249
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                                                                                 Approved       Approved       Paid Current       Paid
                                                                               Current Month   Cumulative         Month         Cumulative
b.     Debtor's professional fees & expenses (nonbankruptcy) Aggregate Total              $0            $0                $0             $0
       Itemized Breakdown by Firm
                Firm Name                        Role
       i                                                                                  $0            $0                $0             $0
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         c
c.       All professional fees and expenses (debtor & committees)             $0              $0               $0               $0




Part 6: Postpetition Taxes                                                          Current Month             Cumulative

a.   Postpetition income taxes accrued (local, state, and federal)                                  $0                          $0
b.   Postpetition income taxes paid (local, state, and federal)                                     $0                          $0
c.   Postpetition employer payroll taxes accrued                                                    $0                          $0
d.   Postpetition employer payroll taxes paid                                                       $0                          $0
e.   Postpetition property taxes paid                                                               $0                          $0
f.   Postpetition other taxes accrued (local, state, and federal)                                   $0                          $0
g.   Postpetition other taxes paid (local, state, and federal)                                      $0                          $0

Part 7: Questionnaire - During this reporting period:

a.   Were any payments made on prepetition debt? (if yes, see Instructions)   Yes        No
b.   Were any payments made outside the ordinary course of business           Yes        No
     without court approval? (if yes, see Instructions)
c.   Were any payments made to or on behalf of insiders?                      Yes        No
d.   Are you current on postpetition tax return filings?                      Yes        No
e.   Are you current on postpetition estimated tax payments?                  Yes        No
f.   Were all trust fund taxes remitted on a current basis?                   Yes        No
g.   Was there any postpetition borrowing, other than trade credit?           Yes        No
     (if yes, see Instructions)
h.   Were all payments made to or on behalf of professionals approved by      Yes        No    N/A
     the court?
i.   Do you have:           Worker's compensation insurance?                  Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                            Casualty/property insurance?                      Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
                            General liability insurance?                      Yes        No
                                 If yes, are your premiums current?           Yes        No    N/A       (if no, see Instructions)
j.   Has a plan of reorganization been filed with the court?                  Yes        No
k.   Has a disclosure statement been filed with the court?                    Yes        No
l.   Are you current with quarterly U.S. Trustee fees as                      Yes        No
     set forth under 28 U.S.C. § 1930?




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Part 8: Individual Chapter 11 Debtors (Only)

a.      Gross income (receipts) from salary and wages                                                               $0
b.      Gross income (receipts) from self-employment                                                                $0
c.      Gross income from all other sources                                                                         $0
d.      Total income in the reporting period (a+b+c)                                                                $0
e.      Payroll deductions                                                                                          $0
f.      Self-employment related expenses                                                                            $0
g.      Living expenses                                                                                             $0
h.      All other expenses                                                                                          $0
i.      Total expenses in the reporting period (e+f+g+h)                                                            $0
j.      Difference between total income and total expenses (d-i)                                                    $0
k.      List the total amount of all postpetition debts that are past due                                           $0
l. Are you required to pay any Domestic Support Obligations as defined by 11            Yes       No
   U.S.C § 101(14A)?
m. If yes, have you made all Domestic Support Obligation payments?                      Yes       No        N/A

                                                     Privacy Act Statement
28 U.S.C. § 589b authorizes the collection of this information, and provision of this information is mandatory under 11 U.S.C.
§§ 704, 1106, and 1107. The United States Trustee will use this information to calculate statutory fee assessments under 28
U.S.C. § 1930(a)(6). The United States Trustee will also use this information to evaluate a chapter 11 debtor's progress
through the bankruptcy system, including the likelihood of a plan of reorganization being confirmed and whether the case is
being prosecuted in good faith. This information may be disclosed to a bankruptcy trustee or examiner when the information
is needed to perform the trustee's or examiner's duties or to the appropriate federal, state, local, regulatory, tribal, or foreign
law enforcement agency when the information indicates a violation or potential violation of law. Other disclosures may be
made for routine purposes. For a discussion of the types of routine disclosures that may be made, you may consult the
Executive Office for United States Trustee's systems of records notice, UST-001, "Bankruptcy Case Files and Associated
Records." See 71 Fed. Reg. 59,818 et seq. (Oct. 11, 2006). A copy of the notice may be obtained at the following link: http://
www.justice.gov/ust/eo/rules_regulations/index.htm. Failure to provide this information could result in the dismissal or
conversion of your bankruptcy case or other action by the United States Trustee. 11 U.S.C. § 1112(b)(4)(F).


I declare under penalty of perjury that the foregoing Monthly Operating Report and its supporting
documentation are true and correct and that I have been authorized to sign this report on behalf of the
estate.



/s/ David Goldwasser                                                            David Goldwasser
Signature of Responsible Party                                                  Printed Name of Responsible Party

CRO                                                                             05/13/2022
Title                                                                           Date




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  In re 96 Wythe Acquisition LLC                                                                                           Case No. 21-22108-rdd
        Debtor                                                                                                    Reporting Period: 3/01/2022-3/31/2022

       SCHEDULE OF CASH RECEIPTS AND DISBURSEMENTS

       Amounts reported should be from the debtor’s books and not the bank statement. The beginning cash should be the ending cash from the prior month
       or, if this is the first report, the amount should be the balance on the date the petition was filed. The amounts reported in the "CURRENT MONTH -
       ACTUAL” column must equal the sum of the fhree bank account columns. Attach copies of the bank statements and the cash disbursements journal.
       The total disbursements listed in the disbursements journal must equal the total disbursements reported on this page. A bank reconciliation must be
       attached for each account. [See MOR-1 (CON’T)]


                                                                                                                                                                                            CURRENT MONTH
       ACCOUNT NUMBER (LAST 4)                                        DIP 0935         DIP 0927                     TWH BK 1596                       TWH BK 1603          TWH BK 1611    ACTUAL (TOTAL OF ALL
                                                                                                                                                                                              ACCOUNTS)

       CASH BEGINNING OF MONTH        $1,251,454.78                                  $1,738,803.02                           $45,568.95                        $5,042.20    $119,620.46        $3,160,489.41
       RECEIPTS
       CASH SALES                     $1,992,337.95                                                                                 $0.98                                                      $1,992,338.93
       ACCOUNTS RECEIVABLE - PREPETITION
       ACCOUNTS RECEIVABLE - POSTPETITION
       LOANS AND ADVANCES
       SALE OF ASSETS
       OTHER (ATTACH LIST)                                                                                                                                                                             $0.00
       TRANSFERS (FROM DIP ACCTS)                                                                                           $482,509.74                      $954,593.37    $143,796.94        $1,580,900.05
         TOTAL RECEIPTS               $1,992,337.95                                             $0.00                       $482,510.72                      $954,593.37    $143,796.94        $3,573,238.98
       DISBURSEMENTS
       NET PAYROLL                                                                                                                                           $755,783.88                         $755,783.88
       PAYROLL TAXES                                                                                                                                                                                   $0.00
       SALES, USE, & OTHER TAXES                                                       $612,351.89                                                             $6,042.20    $252,341.74          $870,735.83
       INVENTORY PURCHASES
       SECURED/ RENTAL/ LEASES
       INSURANCE
       ADMINISTRATIVE                                                                        $120.00                                                                                                  $120.00
       SELLING
       OTHER (ATTACH LIST)               $61,777.53                                             $0.00                       $476,008.55                                                          $537,786.08
       OWNER DRAW *
       TRANSFERS (TO DIP ACCTS)       $1,580,900.05                                                                                                                                            $1,580,900.05
       PROFESSIONAL FEES                      $0.00                                    $259,427.60                                                                                               $259,427.60
       U.S. TRUSTEE QUARTERLY FEES
       COURT COSTS
       TOTAL DISBURSEMENTS            $1,642,677.58                                    $871,899.49                          $476,008.55                      $761,826.08    $252,341.74        $4,004,753.44
                                                                                                                                                                                                       $0.00
       NET CASH FLOW                                                  $349,660.37     -$871,899.49                             $6,502.17                     $192,767.29   -$108,544.80         -$431,514.46
       (RECEIPTS LESS DISBURSEMENTS)

       CASH – END OF MONTH                                           $1,601,115.15     $866,903.53                           $52,071.12                      $197,809.49     $11,075.66        $2,728,974.95
       * COMPENSATION TO SOLE PROPRIETORS FOR SERVICES RENDERED TO BANKRUPTCY ESTATE
       ** Account discontinued use for debtor activity in May 2021


       THE FOLLOWING SECTION MUST BE COMPLETED
       DISBURSEMENTS FOR CALCULATING U.S. TRUSTEE QUARTERLY FEES: (FROM CURRENT MONTH ACTUAL COLUMN)

       TOTAL DISBURSEMENTS                                              4,004,753
         LESS: TRANSFERS TO OTHER                                      (1,580,900)
       DEBTOR IN POSSESSION
         PLUS: ESTATE
       DISBURSEMENTS MADE BY
       TOTAL DISBURSEMENTS FOR                                          2,423,853
       CALCULATING U.S. TRUSTEE
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12:54 PM                                                                         The Williamsburg
04/26/22
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                                                                                   Reconciliation Detail
                            Type             Date             1103100
                                                              Num     · TD DIP Operating Account...0935,
                                                                                          Name           Period Ending 03/31/2022
                                                                                                                           Description         Clr   Amount

Beginning Balance
           Cleared Transactions
               Checks and Payments - 34 items
                    Bill Pmt -Check        03/03/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B          A&G - CC Processing Fees         -8,059.22
                    Bill Pmt -Check        03/03/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B          A&G - CC Processing Fees           -822.26
                    Bill Pmt -Check        03/03/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B          A&G - CC Processing Fees           -662.49
                    Bill Pmt -Check        03/03/2022   ACH              FISERV MERCHANT SERVICES 8889 ROOMS        A&G - CC Processing Fees           -278.20
                    Bill Pmt -Check        03/09/2022   ACH              Con Edison New - 8RTL                      Utilities                       -51,609.47
                    Check                  03/09/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B       A&G - Bad Debt Expense              -52.55
                    Check                  03/21/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B          A&G - CC Processing Fees             -0.68
                    Check                  03/23/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B       A&G - Bad Debt Expense             -155.00
                    Check                  03/30/2022   ACH              FISERV MERCHANT CHARGEBACKS 1884 F&B       A&G - Bad Debt Expense             -137.18
                    Check                  03/31/2022   ACH              FISERV MERCHANT SERVICES 1884 F&B          A&G - CC Processing Fees             -0.48
               Total Checks and Payments                                                                                                             -61,777.53




                                                                                                                                                                  Page 1 of 1
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                                                                                 Reconciliation Detail
                          Type            Date        1103110 · TD DIPName
                                                     Num               Secondary Account...0927, Period Ending 03/31/2022
                                                                                                     Description                             Amount        Balance

Beginning Balance                                                                                                                                         1,738,803.02
        Cleared Transactions
            Checks and Payments - 9 items
                  Check                 03/16/2022   Wire      Locke Lord LLP               A&G - Professional Fees (Examiner's Attorney)   -100,000.00    -100,000.00
                  Check                 03/16/2022   Wire      Huebscher Consulting Corp.   A&G - Professional Fees (Examiner)               -87,678.57    -187,678.57
                  Check                 03/16/2022   ACH       TD Bank 0927                 A&G - Bank Charges                                   -30.00    -187,708.57
                  Check                 03/16/2022   ACH       TD Bank 0927                 A&G - Bank Charges                                   -30.00    -187,738.57
                  Check                 03/17/2022   Wire      Locke Lord LLP               A&G - Professional Fees (Examiner's Attorney)    -58,249.03    -245,987.60
                  Check                 03/17/2022   ACH       TD Bank 0927                 A&G - Bank Charges                                   -30.00    -246,017.60
                  General Journal       03/25/2022   PTAX      NYC Dept of Finance          Property Tax                                    -612,351.89    -858,369.49
                  Check                 03/31/2022   Wire      Leitner Berman Inc.          A&G - Professional Fees (Appraiser)              -13,500.00    -871,869.49
                  Check                 03/31/2022   ACH       TD Bank 0927                 A&G - Bank Charges                                   -30.00    -871,899.49
            Total Checks and Payments                                                                                                       -871,899.49    -871,899.49
        Total Cleared Transactions                                                                                                          -871,899.49    -871,899.49
Cleared Balance                                                                                                                             -871,899.49    866,903.53




                                                                                                                                                                         Page 1 of 1
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1:00 PM                                             The Williamsburg
04/26/22
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                                                    Reconciliation Detail
                     Type         1103500 · TD
                                 Date          Mgmt Main Account...1596, Period
                                             Amount                             Ending 03/31/2022
                                                                           Description

Beginning Balance
     Cleared Transactions
           Checks and Payments - 185 items
             Bill Pmt -Check   02/19/2021          -550.00 F&B - Music & Entertainment
             Bill Pmt -Check   11/12/2021          -350.00 F&B - Music & Entertainment
             Bill Pmt -Check   11/16/2021          -317.90 Rooms - TA Commissions
             Bill Pmt -Check   02/10/2022         -1,399.04 POM - Pest Control
             Bill Pmt -Check   02/10/2022          -600.00 F&B - Music & Entertainment
             Bill Pmt -Check   02/10/2022          -300.00 F&B - Music & Entertainment
             Bill Pmt -Check   02/10/2022          -300.00 F&B - Music & Entertainment
             Bill Pmt -Check   02/11/2022          -955.92 F&B - Equipment Rental (Ice Machine)
             Bill Pmt -Check   02/15/2022         -3,795.00 ITS - Information Systems
             Bill Pmt -Check   02/18/2022         -2,522.85 Rooms - Linen & Uniform Laundry
             Bill Pmt -Check   02/18/2022         -1,116.80 Rooms - Linen Costs
             Bill Pmt -Check   02/18/2022          -979.88 POM - Pest Control
             Bill Pmt -Check   02/18/2022          -955.92 F&B - Equipment Rental (Ice Machine)
             Bill Pmt -Check   02/18/2022          -210.00 F&B - Security
             Bill Pmt -Check   02/20/2022          -600.00 F&B - Contract Labor (Doorman)
             Bill Pmt -Check   02/20/2022          -520.00 F&B - Music & Entertainment
             Bill Pmt -Check   02/25/2022         -3,048.13 F&B - Food
             Bill Pmt -Check   02/25/2022         -2,000.00 S&M - Photography
             Bill Pmt -Check   02/25/2022         -2,000.00 POM - Grounds, Maintenance & Landscaping
             Bill Pmt -Check   02/25/2022         -1,530.00 POM - Engineering Supplies (Expense Reimbusement)
             Bill Pmt -Check   02/25/2022         -1,255.13 Rooms - Cleaning Supplies
             Bill Pmt -Check   02/25/2022         -1,221.65 F&B - Alcohol
             Bill Pmt -Check   02/25/2022          -158.00 F&B - Food
             Bill Pmt -Check   02/26/2022          -200.00 F&B - Music & Entertainment
             Bill Pmt -Check   03/01/2022         -2,430.25 F&B - Food, Non-Alcoholic Beverages, and Supplies
             Bill Pmt -Check   03/01/2022         -2,219.11 F&B - Food, Non-Alcoholic Beverages, and Supplies
             Bill Pmt -Check   03/01/2022         -2,009.50 F&B - Food, Non-Alcoholic Beverages, and Supplies
             Bill Pmt -Check   03/02/2022         -3,536.18 F&B - Alcohol
             Bill Pmt -Check   03/02/2022         -1,968.26 Employee Health Insurance Monthly
             Bill Pmt -Check   03/02/2022         -1,624.00 F&B - Alcohol
             Check             03/02/2022         -1,249.32 Rooms - Cable Television
             Bill Pmt -Check   03/02/2022          -888.00 F&B - Wine
             Bill Pmt -Check   03/02/2022          -308.16 A&G - CC Processing Fees
             Bill Pmt -Check   03/02/2022          -183.36 F&B - Alcohol
             Bill Pmt -Check   03/03/2022         -1,102.99 F&B - Alcohol
             Bill Pmt -Check   03/03/2022          -850.00 POM - Painting & Wallcovering
             Bill Pmt -Check   03/03/2022          -191.56 ITS - Elevator Phone Lines Monthly
             Bill Pmt -Check   03/04/2022        -67,807.23 Sales Tax Payment
             Bill Pmt -Check   03/04/2022         -4,500.00 S&M - Contract Labor
             Bill Pmt -Check   03/04/2022         -2,500.00 S&M - Promotion
             Bill Pmt -Check   03/04/2022         -2,500.00 ITS - Phone Support
             Bill Pmt -Check   03/04/2022         -1,820.00 F&B - Music & Entertainment




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                                                        Pg 17 of 58 Hotel
                                                  Reconciliation Detail
                   Type         1103500 · TD
                               Date          Mgmt Main Account...1596, Period
                                           Amount                             Ending 03/31/2022
                                                                         Description

           Bill Pmt -Check   03/04/2022         -1,800.00 Rooms - Operating Supplies
           Bill Pmt -Check   03/04/2022         -1,763.79 POM - Pest Control
           Bill Pmt -Check   03/04/2022         -1,711.48 F&B - Operating Supplies
           Bill Pmt -Check   03/04/2022         -1,518.76 Rooms - Cleaning Supplies
           Bill Pmt -Check   03/04/2022         -1,483.98 F&B - Glassware & Supplies
           Bill Pmt -Check   03/04/2022         -1,147.94 F&B - Contract Labor
           Bill Pmt -Check   03/04/2022          -777.61 F&B - Food
           Bill Pmt -Check   03/04/2022          -775.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/04/2022          -707.69 POM - Plumbing
           Bill Pmt -Check   03/04/2022          -672.20 Minibar - Sundries
           Bill Pmt -Check   03/04/2022          -629.50 F&B - Food
           Bill Pmt -Check   03/04/2022          -600.00 F&B - Contract Labor (Doorman)
           Bill Pmt -Check   03/04/2022          -550.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/04/2022          -550.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/04/2022          -544.38 POM - Kitchen Equipment Repairs & Maintenance
           Bill Pmt -Check   03/04/2022          -520.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/04/2022          -500.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/04/2022          -450.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/04/2022          -111.14 F&B - Food
           Bill Pmt -Check   03/04/2022            -30.00 F&B - Operating Supplies (Expense Reimbursement)
           Bill Pmt -Check   03/10/2022         -3,428.09 F&B - Food, Non-Alcoholic Beverages, and Supplies
           Bill Pmt -Check   03/10/2022         -3,323.41 F&B - Contract Services (Security)
           Bill Pmt -Check   03/10/2022         -1,034.15 F&B - Contract Labor
           Check             03/10/2022            -30.00 A&G - Bank Charges
           Bill Pmt -Check   03/11/2022        -10,134.75 Rooms - Reservations Services / S&M - Media
           Bill Pmt -Check   03/11/2022         -5,755.63 Rooms - Linen Laundry
           Bill Pmt -Check   03/11/2022         -2,850.00 S&M - Marketing
           Bill Pmt -Check   03/11/2022         -2,691.40 F&B - Equipment Rental
           Bill Pmt -Check   03/11/2022         -2,590.00 S&M - Contract Labor
           Bill Pmt -Check   03/11/2022         -2,500.00 POM - Painting & Wallcovering
           Bill Pmt -Check   03/11/2022         -2,500.00 S&M - Promotion
           Bill Pmt -Check   03/11/2022         -2,377.50 POM - Engineers Contract Labor
           Bill Pmt -Check   03/11/2022         -1,792.00 F&B - Alcohol
           Bill Pmt -Check   03/11/2022         -1,589.63 POM - Operating Supplies
           Bill Pmt -Check   03/11/2022         -1,584.61 F&B - Alcohol
           Bill Pmt -Check   03/11/2022          -825.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/11/2022          -520.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/11/2022          -400.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/11/2022          -400.00 F&B - Music & Entertainment
           Check             03/11/2022            -50.00 A&G - Bank Charges
           Check             03/11/2022            -30.00 A&G - Bank Charges
           Check             03/11/2022            -30.00 A&G - Bank Charges
           Bill Pmt -Check   03/14/2022        -14,599.11 Employee Health Insurance Monthly
           Bill Pmt -Check   03/14/2022         -8,500.00 S&M - Public Relations
           Bill Pmt -Check   03/14/2022         -5,000.00 ITS - Contract Services




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04/26/22
                                                        Pg 18 of 58 Hotel
                                                  Reconciliation Detail
                   Type         1103500 · TD
                               Date          Mgmt Main Account...1596, Period
                                           Amount                             Ending 03/31/2022
                                                                         Description

           Bill Pmt -Check   03/14/2022         -5,000.00 ITS - Contract Services
           Bill Pmt -Check   03/14/2022         -1,203.35 S&M - Contract Labor
           Bill Pmt -Check   03/14/2022          -967.28 S&M - Public Relations
           Bill Pmt -Check   03/15/2022        -14,109.66 F&B - Food, Non-Alcoholic Beverages, and Supplies
           Bill Pmt -Check   03/15/2022         -3,765.00 POM - Furniture & Equipment Repair
           Bill Pmt -Check   03/15/2022         -3,553.09 F&B - Food
           Check             03/15/2022         -2,926.83 A&G - Credit Card Payment
           Bill Pmt -Check   03/15/2022         -2,086.71 F&B - Food
           Check             03/15/2022          -587.45 F&B - Employee Replacement Check
           Check             03/15/2022            -30.00 A&G - Bank Charges
           Check             03/15/2022            -30.00 A&G - Bank Charges
           Check             03/16/2022        -12,920.91 A&G - Credit Card Payment
           Bill Pmt -Check   03/16/2022         -3,899.08 F&B - Alcohol
           Check             03/17/2022        -11,764.16 A&G - Credit Card Payment
           Bill Pmt -Check   03/17/2022         -7,151.02 F&B - Alcohol
           Check             03/17/2022         -6,523.01 A&G - Credit Card Payment
           Bill Pmt -Check   03/17/2022         -2,224.62 F&B - Alcohol
           Bill Pmt -Check   03/17/2022         -1,208.00 F&B - Alcohol
           Bill Pmt -Check   03/17/2022          -281.37 Employee Health Insurance Monthly
           Bill Pmt -Check   03/18/2022         -4,778.08 POM - Engineering Supplies (Expense Reimbusement)
           Bill Pmt -Check   03/18/2022         -3,500.00 POM - Painting & Wallcovering
           Bill Pmt -Check   03/18/2022         -2,553.89 A&G - Operating Supplies
           Bill Pmt -Check   03/18/2022         -2,377.50 POM - Engineers Contract Labor
           Bill Pmt -Check   03/18/2022         -2,217.75 S&M - Contract Labor
           Bill Pmt -Check   03/18/2022          -966.33 F&B - Contract Labor
           Bill Pmt -Check   03/18/2022          -865.16 S&M - Contract Labor
           Bill Pmt -Check   03/18/2022          -800.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/18/2022          -700.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/18/2022          -600.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/18/2022          -520.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/18/2022          -500.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/18/2022          -500.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/18/2022          -489.94 F&B - Marketing & Promotion
           Bill Pmt -Check   03/18/2022          -200.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/18/2022          -159.96 A&G - Operating Supplies (Expense Reimbursement)
           Bill Pmt -Check   03/18/2022          -126.17 POM - Operating Supplies (Expense Reimbursement)
           Bill Pmt -Check   03/18/2022            -32.65 ITS - Operating supplies (Expense Reimbursement)
           Check             03/18/2022            -30.00 A&G - Bank Charges
           Bill Pmt -Check   03/21/2022         -7,660.36 Rooms - OTA Commissions
           Bill Pmt -Check   03/21/2022         -5,289.21 Rooms - OTA Commissions
           Bill Pmt -Check   03/21/2022         -4,960.55 F&B - Food
           Bill Pmt -Check   03/21/2022         -2,705.00 Rooms - Linen Costs
           Check             03/21/2022          -586.84 ITS - System Expenses
           Check             03/21/2022            -50.00 A&G - Bank Charges
           Check             03/22/2022        -14,201.93 A&G - Credit Card Payment




                                                                                                                              Page 3 of 5
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1:00 PM                                           The Williamsburg
04/26/22
                                                        Pg 19 of 58 Hotel
                                                  Reconciliation Detail
                   Type         1103500 · TD
                               Date          Mgmt Main Account...1596, Period
                                           Amount                             Ending 03/31/2022
                                                                         Description

           Bill Pmt -Check   03/22/2022        -12,158.25 F&B - Alcohol
           Bill Pmt -Check   03/22/2022         -5,243.41 Disability Insurance
           Bill Pmt -Check   03/22/2022         -3,852.84 Rooms - Linen Laundry
           Bill Pmt -Check   03/22/2022         -2,690.27 S&M - Collateral Material
           Bill Pmt -Check   03/22/2022         -1,572.01 F&B - Linen Laundry
           Bill Pmt -Check   03/22/2022         -1,522.70 POM - Life/Safety
           Bill Pmt -Check   03/22/2022         -1,246.91 F&B - Glassware & Supplies
           Bill Pmt -Check   03/22/2022         -1,002.00 F&B - Food
           Bill Pmt -Check   03/22/2022          -978.53 POM - Engineering Supplies
           Bill Pmt -Check   03/22/2022          -920.00 F&B - Food
           Bill Pmt -Check   03/22/2022          -772.63 ITS - Phone Support
           Check             03/22/2022          -324.85 Rooms - Washer/Dryer Monthly Lease
           Bill Pmt -Check   03/22/2022          -267.49 POM - Furniture & Equipment Repair
           Bill Pmt -Check   03/22/2022          -154.10 Rooms - Guest Amenities
           Bill Pmt -Check   03/22/2022          -116.50 F&B - N/A Beverage
           Bill Pmt -Check   03/23/2022         -8,753.96 F&B - Food, Non-Alcoholic Beverages, and Supplies
           General Journal   03/23/2022         -2,493.00 Bank Researching
           Bill Pmt -Check   03/23/2022          -994.99 ITS - F&B POS Support Monthly
           General Journal   03/23/2022          -940.00 Bank Researching
           General Journal   03/23/2022          -940.00 Bank Researching
           Check             03/23/2022            -30.00 A&G - Bank Charges
           Bill Pmt -Check   03/24/2022         -7,521.61 F&B - Alcohol
           Bill Pmt -Check   03/24/2022         -3,997.07 F&B - Contract Services (Security)
           Bill Pmt -Check   03/24/2022          -786.00 F&B - Alcohol
           Check             03/24/2022            -30.00 A&G - Bank Charges
           Bill Pmt -Check   03/25/2022         -3,865.59 F&B - Alcohol
           Check             03/25/2022         -2,710.63 A&G - Credit Card Payment
           Bill Pmt -Check   03/25/2022         -2,347.50 POM - Engineers Contract Labor
           Bill Pmt -Check   03/25/2022         -1,989.82 F&B - Alcohol
           Bill Pmt -Check   03/25/2022         -1,600.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/25/2022         -1,022.65 POM - Payroll Net Pay
           Bill Pmt -Check   03/25/2022          -600.00 F&B - Contract Labor (Doorman)
           Bill Pmt -Check   03/25/2022          -472.43 F&B - Operating Supplies (Expense Reimbursement)
           Bill Pmt -Check   03/25/2022          -400.00 F&B - Music & Entertainment
           Bill Pmt -Check   03/25/2022          -387.90 F&B - Alcohol
           Bill Pmt -Check   03/25/2022          -100.81 F&B - Operating Supplies (Expense Reimbursement)
           Check             03/25/2022            -30.00 A&G - Bank Charges
           Bill Pmt -Check   03/28/2022        -12,549.25 Workers Compensation Insurance
           Bill Pmt -Check   03/28/2022          -788.33 S&M - Dues & Subscriptions
           Bill Pmt -Check   03/28/2022          -737.47 Employee Health Insurance Monthly
           Bill Pmt -Check   03/28/2022          -450.00 S&M - Photography
           Bill Pmt -Check   03/28/2022          -420.34 Employee Health Insurance Monthly
           Bill Pmt -Check   03/30/2022         -8,754.75 F&B - Alcohol
           Bill Pmt -Check   03/30/2022         -4,053.71 F&B - Food
           Bill Pmt -Check   03/30/2022         -2,880.00 F&B - Alcohol




                                                                                                                              Page 4 of 5
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04/26/22
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                                                      Reconciliation Detail
                     Type         1103500 · TD
                                 Date          Mgmt Main Account...1596, Period
                                             Amount                             Ending 03/31/2022
                                                                           Description

             Bill Pmt -Check   03/30/2022           -2,630.42 POM - Furniture & Fixtures
             Bill Pmt -Check   03/30/2022           -2,136.00 F&B - Alcohol
             Bill Pmt -Check   03/30/2022             -400.00 F&B - Music & Entertainment
             Check             03/30/2022              -30.00 A&G - Bank Charges
             General Journal   03/30/2022               -0.97 A&G - Credit Card Payment
             Check             03/31/2022          -11,563.55 A&G - Credit Card Payment
             Bill Pmt -Check   03/31/2022             -191.56 ITS - Elevator Phone Lines Monthly
             Check             03/31/2022              -30.00 A&G - Bank Charges
           Total Checks and Payments              -476,008.55




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04/26/22
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                                                                          Reconciliation Detail
                             Type             Date   1103520
                                                         Num · TD Mgmt Reserve
                                                                        Name   Account...1611, Period  Ending 03/31/2022
                                                                                                Description         Clr    Amount

Beginning Balance
           Cleared Transactions
                Checks and Payments - 5 items
                     General Journal        03/04/2022   ACH    NYS DTF                     Sales Tax Payment             -119,495.46
                     General Journal        03/04/2022   ACH    NYS DTF                     Sales Tax Payment                 -125.00
                     Bill Pmt -Check        03/25/2022   ACH    NYC Department of Finance   Occupancy Tax Payment         -141,033.19
                     Bill Pmt -Check        03/28/2022   ACH    NYS DTF                     Sales Tax Payment               -5,007.98
                     Check                  03/31/2022   ACH    TD Bank 1611                A&G - Bank Charges                 -25.00
                Total Checks and Payments                                                                                  -265,686.63




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                                         The Williamsburg Hotel
                                      Income Statement Summary
                                              March 2022

                                                             Actual           %

               Paid Occupied Rooms                                3,606
               Occupied Rooms                                     3,647
               Available Rooms                                    4,557

               Paid Occupancy %                                    79.1%




                                                L
               Total Occupancy %                                   80.0%
               Paid ADR                                 $         276.93




                                             IA
               Total ADR                                $         273.82
               RevPAR                                   $         219.14

               Revenue




                                           NT
               Rooms                                    $     998,614.58     64.8%
               Food & Beverage                          $     493,687.97     32.1%
               Miscellaneous Revenue                    $      47,814.62      3.1%
               Total Revenue                            $   1,540,117.17    100.0%

               Departmental Expenses
                          DE
               Rooms                                    $    393,705.32     39.4%
               Food & Beverage                          $    427,143.54     86.5%
               Total Departmental Expenses              $    820,848.87     53.3%

               Total Departmental Profit                $    719,268.31     46.7%
           I
        NF


               Undistributed Operating Expenses
               Admin & General                          $    251,259.68     16.3%
               Info & Telecomm Systems                  $     23,231.27      1.5%
               Sales & Marketing                        $    141,706.21      9.2%
               Property Operations & Maintenance        $    131,653.22      8.5%
CO




               Utilities                                $     46,037.45      3.0%
               Total Undistributed Expenses             $    593,887.83     38.6%

               Gross Operating Profit                   $    125,380.48      8.1%

               Property & Liability Insurance           $     36,077.67      2.3%
               Property Taxes                           $    100,050.33      6.5%

               Net Operating Profit                     $     (10,747.52)   (0.7%)

               Ch. 11 Professional & Trustee Fees       $    278,953.18     18.1%

               Profit After Ch. 11 Fees                 $    (289,700.71) (18.8%)
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                                                           E       STATEMENT OF ACCOUNT



    96 WYTHE ACQUISITION LLC DBA                                   Page:                                    1 of 6
    THE WILLIAMSBURG HOTEL                                         Statement Period:      Mar 01 2022-Mar 31 2022
    DIP CASE 21-22108-RRD SDNY                                     Cust Ref #:              4384910935-039-E-***
    3284 N 29TH CT                                                 Primary Account #:                438-4910935
    HOLLYWOOD FL 33020




Overdraft Policy Change Effective April 8, 2022

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $10, you may now overdraw your account by up to $50 without TD charging you an overdraft fee.

For Business Checking accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account
Analysis. Please contact your Treasury Management Officer for further details.
Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                                      Account # 438-4910935
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108-RRD SDNY


ACCOUNT SUMMARY
Beginning Balance                  1,251,454.78                           Average Collected Balance      1,253,569.40
Deposits                              34,517.73                           Interest Earned This Period            0.00
Electronic Deposits                1,797,233.77                           Interest Paid Year-to-Date             0.00
Other Credits                        160,586.45                           Annual Percentage Yield Earned       0.00%
                                                                          Days in Period                           31
Electronic Payments                1,642,677.58
Ending Balance                     1,601,115.15




DAILY ACCOUNT ACTIVITY
Deposits
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/18              DEPOSIT                                                                                       4,973.00
03/18              DEPOSIT                                                                                       2,354.00
03/18              DEPOSIT                                                                                       1,011.00
03/18              DEPOSIT                                                                                         600.00
03/18              DEPOSIT                                                                                         500.00
03/18              DEPOSIT                                                                                         263.70
03/18              DEPOSIT                                                                                         225.24
03/18              DEPOSIT                                                                                          13.39
03/31              DEPOSIT                                                                                      24,577.40
                                                                                           Subtotal:            34,517.73
Electronic Deposits
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/01              CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                            33,354.00
03/02              CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                            12,007.79
03/03              CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                             3,714.06
03/04              CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                             3,981.10
03/07              CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                            18,609.73

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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                                                                      Pg 24 of 58
    How to Balance your Account                                                                                                               Page:                                   2 of 6

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                     1,601,115.15
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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   THE WILLIAMSBURG HOTEL                            Page:                                  3 of 6
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                                                     Cust Ref #:            4384910935-039-E-***
                                                     Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                      AMOUNT
03/07           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               8,233.61
03/07           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               5,389.92
03/08           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              36,718.03
03/09           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              14,724.39
03/10           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               3,131.14
03/11           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               4,516.82
03/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              17,752.93
03/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               8,675.84
03/14           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               4,473.42
03/15           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              22,128.41
03/16           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              11,077.89
03/17           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               5,429.26
03/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                             705,267.64
03/18           CCD DEPOSIT, PHREESIA, INC. PAYMENT SUP-100568                                 23,633.12
03/18           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               5,965.74
03/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              63,997.64
03/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              31,593.51
03/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              29,731.23
03/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              25,254.57
03/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               7,307.82
03/21           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               5,470.50
03/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              63,197.28
03/22           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              38,020.05
03/23           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              60,683.15
03/23           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              10,208.65
03/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              59,516.95
03/24           CCD DEPOSIT, PHREESIA, INC. PAYMENT SUP-100568                                  7,757.34
03/24           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               3,846.33
03/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              25,545.01
03/25           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               4,992.81
03/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              45,747.08
03/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              35,192.67
03/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              29,296.47
03/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              23,369.28
03/28           CCD DEPOSIT, SHOPIFY INC 7469 SINGLE                                           22,459.31
03/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                              13,016.43
03/28           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               5,822.00
03/29           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                              37,000.84
03/29           CCD DEPOSIT, WISE INC MICROBLINK Microblink                                    34,292.48


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                                                      Cust Ref #:            4384910935-039-E-***
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
03/29           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               33,230.59
03/30           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               56,366.06
03/30           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                               14,065.97
03/31           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****01938889                               57,907.52
03/31           CCD DEPOSIT, FISERV MERCHANT DEPOSIT ****03671884                                3,559.39
                                                                           Subtotal:         1,797,233.77
Other Credits
POSTING DATE    DESCRIPTION                                                                       AMOUNT
03/01           WIRE   TRANSFER INCOMING, MATERNE NORTH AMERICA CORP                            12,211.86
03/03           WIRE   TRANSFER INCOMING, 1/MICROBLINK D.O.O.                                   10,095.70
03/04           WIRE   TRANSFER INCOMING, MATERNE NORTH AMERICA CORP                            72,980.27
03/18           WIRE   TRANSFER INCOMING, 1/MICROBLINK D.O.O.                                   57,347.73
03/18           WIRE   TRANSFER INCOMING, MATERNE NORTH AMERICA CORP                             7,950.89
                                                                           Subtotal:           160,586.45
Electronic Payments
POSTING DATE    DESCRIPTION                                                                       AMOUNT
03/02           eTransfer Debit, Online Xfer                                                    26,658.86
                  Transfer to CK 4380021596
03/03           eTransfer Debit, Online Xfer                                                   185,426.89
                  Transfer to CK 4380021603
03/03           eTransfer Debit, Online Xfer                                                    28,591.43
                  Transfer to CK 4380021596
03/03           CCD DEBIT, FISERV MERCHANT INTERCHNG ****03671884                                8,059.22
03/03           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                        822.26
03/03           CCD DEBIT, FISERV MERCHANT DISCOUNT ****03671884                                   662.49
03/03           CCD DEBIT, FISERV MERCHANT DEPOSIT ****01938889                                    278.20
03/04           eTransfer Debit, Online Xfer                                                    28,426.90
                  Transfer to CK 4380021596
03/09           ACH DEBIT, CON ED OF NY XXXXXXXXXX ****10002602016                              51,609.47
03/09           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                  52.55
03/11           eTransfer Debit, Online Xfer                                                   194,316.64
                  Transfer to CK 4380021603
03/11           eTransfer Debit, Online Xfer                                                    25,016.95
                  Transfer to CK 4380021596
03/11           eTransfer Debit, Online Xfer                                                    19,467.28
                  Transfer to CK 4380021596
03/14           eTransfer Debit, Online Xfer                                                    28,708.77
                  Transfer to CK 4380021596
03/14           eTransfer Debit, Online Xfer                                                    23,376.61
                  Transfer to CK 4380021596


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                                                      Cust Ref #:            4384910935-039-E-***
                                                      Primary Account #:              438-4910935




DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                       AMOUNT
03/15           eTransfer Debit, Online Xfer                                                    48,359.06
                 Transfer to CK 4380021596
03/16           eTransfer Debit, Online Xfer                                                    26,609.06
                 Transfer to CK 4380021596
03/17           eTransfer Debit, Online Xfer                                                   188,643.89
                 Transfer to CK 4380021603
03/17           eTransfer Debit, Online Xfer                                                    20,865.01
                 Transfer to CK 4380021596
03/18           eTransfer Debit, Online Xfer                                                    28,431.39
                 Transfer to CK 4380021596
03/21           eTransfer Debit, Online Xfer                                                   143,796.94
                 Transfer to CK 4380021611
03/21           eTransfer Debit, Online Xfer                                                    21,251.96
                 Transfer to CK 4380021596
03/21           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                          0.68
03/23           eTransfer Debit, Online Xfer                                                    18,991.92
                 Transfer to CK 4380021596
03/23           eTransfer Debit, Online Xfer                                                    17,726.51
                 Transfer to CK 4380021596
03/23           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 155.00
03/24           eTransfer Debit, Online Xfer                                                   190,874.36
                 Transfer to CK 4380021603
03/24           eTransfer Debit, Online Xfer                                                    28,307.61
                 Transfer to CK 4380021596
03/24           eTransfer Debit, Online Xfer                                                    13,753.96
                 Transfer to CK 4380021596
03/28           eTransfer Debit, Online Xfer                                                    49,810.18
                 Transfer to CK 4380021596
03/30           CCD DEBIT, FISERV MERCHANT CHARGEBACK ****03671884                                 137.18
03/31           eTransfer Debit, Online Xfer                                                   195,331.59
                 Transfer to CK 4380021603
03/31           eTransfer Debit, Online Xfer                                                    28,156.28
                 Transfer to CK 4380021596
03/31           CCD DEBIT, FISERV MERCHANT FEE ****03671884                                           0.48
                                                                           Subtotal:         1,642,677.58


DAILY BALANCE SUMMARY
DATE                               BALANCE                  DATE                                 BALANCE
02/28                         1,251,454.78                  03/16                              858,789.05
03/01                         1,297,020.64                  03/17                              654,709.41
03/02                         1,282,369.57                  03/18                            1,436,383.47
03/03                         1,072,338.84                  03/21                            1,434,689.16

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                                                  Cust Ref #:            4384910935-039-E-***
                                                  Primary Account #:              438-4910935




DAILY BALANCE SUMMARY
DATE                              BALANCE               DATE                                 BALANCE
03/04                      1,120,873.31                 03/22                            1,535,906.49
03/07                      1,153,106.57                 03/23                            1,569,924.86
03/08                      1,189,824.60                 03/24                            1,408,109.55
03/09                      1,152,886.97                 03/25                            1,438,647.37
03/10                      1,156,018.11                 03/28                            1,563,740.43
03/11                        921,734.06                 03/29                            1,668,264.34
03/14                        900,550.87                 03/30                            1,738,559.19
03/15                        874,320.22                 03/31                            1,601,115.15




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    THE WILLIAMSBURG HOTEL                                         Statement Period:      Mar 01 2022-Mar 31 2022
    DIP CASE 21-22108 SDNY                                         Cust Ref #:              4384910927-039-E-***
    3284 N 29TH CT                                                 Primary Account #:                438-4910927
    HOLLYWOOD FL 33020




Overdraft Policy Change Effective April 8, 2022

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $10, you may now overdraw your account by up to $50 without TD charging you an overdraft fee.

For Business Checking accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account
Analysis. Please contact your Treasury Management Officer for further details.
Chapter 11 Checking
96 WYTHE ACQUISITION LLC DBA                                                                      Account # 438-4910927
THE WILLIAMSBURG HOTEL
DIP CASE 21-22108 SDNY


ACCOUNT SUMMARY
Beginning Balance                  1,738,803.02                           Average Collected Balance      1,474,996.70
                                                                          Interest Earned This Period            0.00
Electronic Payments                  612,351.89                           Interest Paid Year-to-Date             0.00
Other Withdrawals                    259,547.60                           Annual Percentage Yield Earned       0.00%
Ending Balance                       866,903.53                           Days in Period                           31




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/25              CCD DEBIT, NYC DEPT OF FIN NYCDOF PTX C                 ****85962                           612,351.89
                                                                                           Subtotal:           612,351.89
Other Withdrawals
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/16              WIRE   TRANSFER OUTGOING, Locke Lord LLP                                                    100,000.00
03/16              WIRE   TRANSFER OUTGOING, Huebscher Consulting Corp                                          87,678.57
03/16              WIRE   TRANSFER FEE                                                                              30.00
03/16              WIRE   TRANSFER FEE                                                                              30.00
03/17              WIRE   TRANSFER OUTGOING, Locke Lord LLP                                                     58,249.03
03/17              WIRE   TRANSFER FEE                                                                              30.00
03/31              WIRE   TRANSFER OUTGOING, Leitner Berman Inc.                                                13,500.00
03/31              WIRE   TRANSFER FEE                                                                              30.00
                                                                                           Subtotal:           259,547.60




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Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       866,903.53
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                  Cust Ref #:            4384910927-039-E-***
                                                  Primary Account #:              438-4910927




DAILY BALANCE SUMMARY
DATE                              BALANCE               DATE                                 BALANCE
02/28                      1,738,803.02                 03/25                             880,433.53
03/16                      1,551,064.45                 03/31                             866,903.53
03/17                      1,492,785.42




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    96 WYTHE AVE                                                   Statement Period:      Mar 01 2022-Mar 31 2022
    BROOKLYN NY 11249                                              Cust Ref #:              4380021596-719-E-***
                                                                   Primary Account #:                438-0021596




Overdraft Policy Change Effective April 8, 2022

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $10, you may now overdraw your account by up to $50 without TD charging you an overdraft fee.

For Business Checking accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account
Analysis. Please contact your Treasury Management Officer for further details.
TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                                     Account # 438-0021596


ACCOUNT SUMMARY
Beginning Balance                     45,568.95                           Average Collected Balance             45,991.50
Electronic Deposits                  482,510.72                           Interest Earned This Period                0.00
                                                                          Interest Paid Year-to-Date                 0.00
Checks Paid                          169,264.63                           Annual Percentage Yield Earned           0.00%
Electronic Payments                  192,312.06                           Days in Period                               31
Other Withdrawals                    114,401.86
Service Charges                           30.00
Ending Balance                        52,071.12



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/02              eTransfer Credit, Online Xfer                                                                26,658.86
                      Transfer from CK 4384910935
03/03              eTransfer Credit, Online Xfer                                                                28,591.43
                      Transfer from CK 4384910935
03/04              eTransfer Credit, Online Xfer                                                                28,426.90
                      Transfer from CK 4384910935
03/11              eTransfer Credit, Online Xfer                                                                25,016.95
                      Transfer from CK 4384910935
03/11              eTransfer Credit, Online Xfer                                                                19,467.28
                      Transfer from CK 4384910935
03/14              eTransfer Credit, Online Xfer                                                                28,708.77
                      Transfer from CK 4384910935
03/14              eTransfer Credit, Online Xfer                                                                23,376.61
                      Transfer from CK 4384910935
03/15              eTransfer Credit, Online Xfer                                                                48,359.06
                      Transfer from CK 4384910935
03/16              eTransfer Credit, Online Xfer                                                                26,609.06
                      Transfer from CK 4384910935
03/17              eTransfer Credit, Online Xfer                                                                20,865.01
                      Transfer from CK 4384910935


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    How to Balance your Account                                                                                                               Page:                                2 of 18

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         52,071.12
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                                            Cust Ref #:                      4380021596-719-E-***
                                                                            Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Electronic Deposits (continued)
POSTING DATE    DESCRIPTION                                                                                                                    AMOUNT
03/18           ATM CHECK DEPOSIT, AUT 031822 ATM CHECK DEPOSI                                                                                   0.01
                  4526 13TH AVENUE                BOROUGH PARK * NY
                  4085404029612086
03/18           eTransfer Credit, Online Xfer                                                                                            28,431.39
                  Transfer from CK 4384910935
03/21           eTransfer Credit, Online Xfer                                                                                            21,251.96
                  Transfer from CK 4384910935
03/23           eTransfer Credit, Online Xfer                                                                                            18,991.92
                  Transfer from CK 4384910935
03/23           eTransfer Credit, Online Xfer                                                                                            17,726.51
                  Transfer from CK 4384910935
03/24           eTransfer Credit, Online Xfer                                                                                            28,307.61
                  Transfer from CK 4384910935
03/24           eTransfer Credit, Online Xfer                                                                                            13,753.96
                  Transfer from CK 4384910935
03/28           eTransfer Credit, Online Xfer                                                                                            49,810.18
                  Transfer from CK 4384910935
03/30           ACH DEPOSIT, BANK OF AMERICA ACCT CNFRM CKF562551826POS                                                                       0.93
03/30           ACH DEPOSIT, BANK OF AMERICA ACCT CNFRM CKF562551826POS                                                                       0.04
03/31           eTransfer Credit, Online Xfer                                                                                            28,156.28
                  Transfer from CK 4384910935

                                                                                                            Subtotal:                  482,510.72
Checks Paid     No. Checks: 109   *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE           SERIAL NO.                  AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
03/17           315                    11,764.16                                   03/03                     3350*                         2,000.00
03/22           321*                   14,201.93                                   03/15                     3353*                         1,255.13
03/21           2710*                      350.00                                  03/15                     3355*                             158.00
03/01           2761*                      317.90                                  03/15                     3356                          3,048.13
03/02           3230*                      600.00                                  03/02                     3357                          1,221.65
03/01           3236*                      300.00                                  03/02                     3360*                         1,530.00
03/02           3237                       300.00                                  03/01                     3362*                         2,000.00
03/14           3246*                   1,399.04                                   03/14                     3365*                             600.00
03/02           3264*                      955.92                                  03/21                     3366                              550.00
03/24           3284*                   2,522.85                                   03/15                     3367                              520.00
03/31           3300*                      210.00                                  03/22                     3368                              200.00
03/01           3311*                   1,116.80                                   03/14                     3372*                             600.00
03/02           3323*                      955.92                                  03/15                     3374*                         1,147.94
03/18           3331*                      979.88                                  03/18                     3376*                         1,820.00
03/22           3346*                   3,795.00                                   03/15                     3377                              520.00

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                                                                      Primary Account #:                        438-0021596




DAILY ACCOUNT ACTIVITY
Checks Paid (continued)     *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE          SERIAL NO.             AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
03/14           3379*                775.00                                  03/14                     3423*                         1,203.35
03/22           3380                 550.00                                  03/18                     3424                          3,500.00
03/21           3381                 550.00                                  03/22                     3432*                             159.96
03/21           3382                 450.00                                  03/23                     3435*                         4,778.08
03/21           3383                 500.00                                  03/21                     3441*                             966.33
03/14           3384                   30.00                                 03/18                     3444*                             126.17
03/15           3385              1,034.15                                   03/21                     3446*                             500.00
03/14           3386              3,323.41                                   03/23                     3447                              500.00
03/11           3389*             2,500.00                                   03/21                     3448                              800.00
03/11           3390              2,590.00                                   03/18                     3450*                             489.94
03/11           3392*             1,584.61                                   03/23                     3451                              600.00
03/14           3393                 400.00                                  03/22                     3452                              520.00
03/14           3394                 400.00                                  03/22                     3453                              200.00
03/14           3395                 825.00                                  03/21                     3455*                             700.00
03/15           3396              2,691.40                                   03/18                     3456                               32.65
03/15           3397                 520.00                                  03/18                     3457                          2,217.75
03/14           3399*             2,500.00                                   03/28                     3458                              587.45
03/15           3400              5,755.63                                   03/18                     3459                              865.16
03/16           3401             10,134.75                                   03/30                     3460                              154.10
03/15           3402              1,518.76                                   03/29                     3462*                         3,852.84
03/15           3403                 707.69                                  03/30                     3466*                             920.00
03/22           3404                 544.38                                  03/30                     3467                          1,002.00
03/25           3405              1,763.79                                   03/29                     3472*                         1,246.91
03/23           3406              1,800.00                                   03/29                     3474*                         1,572.01
03/14           3407              2,500.00                                   03/30                     3475                              772.63
03/11           3409*             4,500.00                                   03/28                     3476                          2,690.27
03/18           3410              2,500.00                                   03/28                     3480*                         1,522.70
03/14           3412*             1,711.48                                   03/30                     3481                              116.50
03/15           3413                 672.20                                  03/29                     3483*                             978.53
03/15           3414              1,483.98                                   03/28                     3484                              267.49
03/18           3416*                111.14                                  03/25                     3486*                             888.00
03/16           3417                 629.50                                  03/29                     3494*                         3,997.07
03/15           3419*                777.61                                  03/28                     3497*                             600.00
03/21           3421*             1,589.63                                   03/25                     3498                          3,865.59


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DAILY ACCOUNT ACTIVITY
Checks Paid (continued)       *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments
DATE           SERIAL NO.              AMOUNT                                 DATE                   SERIAL NO.                            AMOUNT
03/28           3499                   100.81                                  03/30                     3528                              450.00
03/28           3501*               1,600.00                                   03/30                     3534*                             400.00
03/30           3502                   400.00                                  03/25                     7080*                             940.00
03/25           3504*                  472.43                                  03/15                     7081                              940.00
03/30           3508*                  387.90                                  03/17                     7083*                         2,493.00
03/25           3527*               1,022.65
                                                                                                        Subtotal:                  169,264.63
Electronic Payments
POSTING DATE    DESCRIPTION                                                                                                                AMOUNT
03/01           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                  2,430.25
03/01           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                  2,219.11
03/01           CCD DEBIT, CHEFSWAREHOUSEWE PURCHASE THE WILLIAMSBUR                                                                  2,009.50
03/02           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000731272                                                                    3,536.18
03/02           CCD DEBIT, EMPIRE BLUE INDIVIDUAL 6265695                                                                             1,968.26
03/02           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000169156                                                                    1,624.00
03/02           CCD DEBIT, ASCENTIUMCAPITAL LEASECHG 173752                                                                           1,249.32
03/02           CCD DEBIT, MERCHANT SERVICE MERCH FEE 8079292879                                                                        308.16
03/02           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000731376                                                                      183.36
03/03           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 6641612                                                                1,102.99
03/03           ELECTRONIC PMT-WEB, VERIZON PAYMENTREC 2515388510001                                                                    191.56
03/11           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000170830                                                                    1,792.00
03/14           CTX DEBIT, UNITED HEALTHCAR EDI PAYMTS 636325712895                                                                  14,599.11
03/14           CCD DEBIT, BE ABOUT YOU LLC SALE                                                                                      8,500.00
03/14           CCD DEBIT, FARMACIST SALE                                                                                             5,000.00
03/14           CCD DEBIT, FARMACIST SALE                                                                                             5,000.00
03/14           CCD DEBIT, BE ABOUT YOU LLC SALE                                                                                        967.28
03/15           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                                                             3,553.09
03/15           ACH DEBIT, AMEX EPAYMENT ACH PMT S5806                                                                                2,926.83
03/15           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                                                             2,086.71
03/16           ELECTRONIC PMT-WEB, CHASE CREDIT CRD EPAY 5840368645                                                                 12,920.91
03/16           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000734473                                                                    3,899.08
03/17           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000734816                                                                    7,151.02
03/17           ELECTRONIC PMT-WEB, CHASE CREDIT CRD EPAY 5842028276                                                                  6,523.01
03/17           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 2010825                                                                2,224.62
03/17           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000171817                                                                    1,208.00
03/17           CCD DEBIT, HEALTHPLUS OR1544015 000001418472779                                                                         281.37
03/18           CCD DEBIT, READYREFRESH ECHECKPAY 0446216020                                                                          2,553.89
03/21           CCD DEBIT, BOOKING.COM B.V. 1029359534 10000701532794                                                                 7,660.36

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DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE    DESCRIPTION                                                                            AMOUNT
03/21           CCD DEBIT, EXPEDIA, INC. 10081288_7 127000620564                                      5,289.21
03/21           CCD DEBIT, BRONX LOBSTER PL ACH 201-707-4847                                          4,960.55
03/21           CCD DEBIT, 833-830-9255 QUICKBOOKS 5198359                                              586.84
03/22           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000735610                                   12,158.25
03/22           ELECTRONIC PMT-WEB, NYSIF WEB_PAY 00789971031822                                      5,243.41
03/22           CCD DEBIT, ALLIANCE ACHDEBITS 000102316653001                                           324.85
03/23           CCD DEBIT, MICROS RETAIL SY ACH DEBIT 5323616205                                        994.99
03/24           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 1387803                                7,521.61
03/24           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000173012                                      786.00
03/25           CCD DEBIT, AMEX EPAYMENT ACH PMT W0198                                                2,710.63
03/25           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000736499                                    1,989.82
03/28           CCD DEBIT, WESTGUARD INS CO INS PREM WIWC291833                                      12,549.25
03/28           ELECTRONIC PMT-WEB, TRIPADVISOR ADVERTSING 1760890                                      788.33
03/28           ELECTRONIC PMT-WEB, FIDELIS CARE US 000000000                                           737.47
03/28           ELECTRONIC PMT-WEB, FIDELIS CARE US 000000000                                           420.34
03/30           CCD DEBIT, SWS OF AMERICA CORP PMT 450000000737486                                    8,754.75
03/30           CCD DEBIT, RIVIERA PROD 2 INVOICES WILL05                                             4,053.71
03/30           ELECTRONIC PMT-WEB, EMPIREMERCHANTS INVOICE(S) 1000495                                2,880.00
03/30           CCD DEBIT, WINEBOW NY, NJ, PAYMENT 045590000174082                                    2,136.00
03/30           ACH DEBIT, BANK OF AMERICA ACCT CNFRM CKF562551826POS                                     0.97
03/31           ELECTRONIC PMT-WEB, CHASE CREDIT CRD EPAY 5866913009                                 11,563.55
03/31           ELECTRONIC PMT-WEB, VERIZON PAYMENTREC 2515388510001                                    191.56
                                                                                Subtotal:           192,312.06
Other Withdrawals
POSTING DATE    DESCRIPTION                                                                            AMOUNT
03/03           WIRE TRANSFER OUTGOING, Miguel Ovalle                                                   850.00
03/03           WIRE TRANSFER FEE                                                                        30.00
03/04           DEBIT, Levy #1039946                                                                 67,807.23
                    L NY Taxation
03/10           WIRE    TRANSFER OUTGOING, Dairyland USA Corp.                                        3,428.09
03/10           WIRE    TRANSFER FEE                                                                     30.00
03/11           WIRE    TRANSFER OUTGOING, Aplbc Ltd                                                  2,850.00
03/11           WIRE    TRANSFER OUTGOING, Mint Development Corp                                      2,377.50
03/11           WIRE    TRANSFER FEE                                                                     50.00
03/11           WIRE    TRANSFER FEE                                                                     30.00
03/15           WIRE    TRANSFER OUTGOING, Dairyland USA Corp.                                       14,109.66
03/15           WIRE    TRANSFER OUTGOING, Kostas Upholstery                                          3,765.00
03/15           WIRE    TRANSFER FEE                                                                     30.00
03/15           WIRE    TRANSFER FEE                                                                     30.00

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DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE      DESCRIPTION                                                                      AMOUNT
03/18             WIRE TRANSFER OUTGOING, Mint Development Corp                                   2,377.50
03/18             WIRE TRANSFER FEE                                                                  30.00
03/21             WIRE TRANSFER OUTGOING, Tsi Tex Styles Inc                                      2,705.00
03/21             WIRE TRANSFER FEE                                                                  50.00
03/23             WIRE TRANSFER OUTGOING, Dairyland USA Corp.                                     8,753.96
03/23             WIRE TRANSFER FEE                                                                  30.00
03/24             STOP PAYMENT CHG(S), STOP ITEM                                                     30.00
03/25             WIRE TRANSFER OUTGOING, Mint Development Corp                                   2,347.50
03/25             WIRE TRANSFER FEE                                                                  30.00
03/30             WIRE TRANSFER OUTGOING, Best Buy Co. Inc.                                       2,630.42
03/30             WIRE TRANSFER FEE                                                                  30.00
                                                                            Subtotal:           114,401.86
Service Charges
POSTING DATE      DESCRIPTION                                                                      AMOUNT
03/31             MAINTENANCE FEE                                                                      30.00
                                                                            Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                               BALANCE                   DATE                                 BALANCE
02/28                             45,568.95                  03/18                               55,120.89
03/01                             35,175.39                  03/21                               48,164.93
03/02                             47,401.48                  03/22                               10,267.15
03/03                             71,818.36                  03/23                               29,528.55
03/04                             32,438.03                  03/24                               60,729.66
03/10                             28,979.94                  03/25                               44,699.25
03/11                             55,190.06                  03/28                               72,645.32
03/14                             56,941.77                  03/29                               60,997.96
03/15                             56,048.92                  03/30                               35,909.95
03/16                             55,073.74                  03/31                               52,071.12
03/17                             44,293.57




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#315        03/17        $11,764.16              #321          03/22           $14,201.93




#2710       03/21        $350.00                 #2761         03/01           $317.90




#3230       03/02        $600.00                 #3236         03/01           $300.00




#3237       03/02        $300.00                 #3246         03/14           $1,399.04




#3264       03/02        $955.92                 #3284         03/24           $2,522.85
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#3300       03/31        $210.00                 #3311         03/01           $1,116.80




#3323       03/02        $955.92                 #3331         03/18           $979.88




#3346       03/22        $3,795.00               #3350         03/03           $2,000.00




#3353       03/15        $1,255.13               #3355         03/15           $158.00




#3356       03/15        $3,048.13               #3357         03/02           $1,221.65
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#3360       03/02        $1,530.00               #3362         03/01           $2,000.00




#3365       03/14        $600.00                 #3366         03/21           $550.00




#3367       03/15        $520.00                 #3368         03/22           $200.00




#3372       03/14        $600.00                 #3374         03/15           $1,147.94




#3376       03/18        $1,820.00               #3377         03/15           $520.00
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#3379       03/14        $775.00                 #3380         03/22           $550.00




#3381       03/21        $550.00                 #3382         03/21           $450.00




#3383       03/21        $500.00                 #3384         03/14           $30.00




#3385       03/15        $1,034.15               #3386         03/14           $3,323.41




#3389       03/11        $2,500.00               #3390         03/11           $2,590.00
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                                                          STATEMENT OF ACCOUNT


         THE WILLIAMSBURG HOTEL BK LLC
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                                                          Statement Period:    Mar 01 2022-Mar 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3392       03/11        $1,584.61
                                                 #3393         03/14           $400.00




#3394       03/14        $400.00                 #3395         03/14           $825.00




#3396       03/15        $2,691.40               #3397         03/15           $520.00




#3399       03/14        $2,500.00               #3400         03/15           $5,755.63




#3401       03/16        $10,134.75              #3402         03/15           $1,518.76
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         THE WILLIAMSBURG HOTEL BK LLC
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                                                          Statement Period:    Mar 01 2022-Mar 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3403       03/15        $707.69                 #3404         03/22           $544.38




#3405       03/25        $1,763.79               #3406         03/23           $1,800.00




#3407       03/14        $2,500.00               #3409         03/11           $4,500.00




#3410       03/18        $2,500.00               #3412         03/14           $1,711.48




#3413       03/15        $672.20                 #3414         03/15           $1,483.98
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         THE WILLIAMSBURG HOTEL BK LLC
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                                                          Statement Period:    Mar 01 2022-Mar 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3416       03/18        $111.14                 #3417         03/16           $629.50




#3419       03/15        $777.61                 #3421         03/21           $1,589.63




#3423       03/14        $1,203.35               #3424         03/18           $3,500.00




#3432       03/22        $159.96                 #3435         03/23           $4,778.08




#3441       03/21        $966.33                 #3444         03/18           $126.17
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         THE WILLIAMSBURG HOTEL BK LLC
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                                                          Statement Period:    Mar 01 2022-Mar 31 2022
                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3446       03/21        $500.00                 #3447         03/23           $500.00




#3448       03/21        $800.00                 #3450         03/18           $489.94




#3451       03/23        $600.00                 #3452         03/22           $520.00




#3453       03/22        $200.00                 #3455         03/21           $700.00




#3456       03/18        $32.65                  #3457         03/18           $2,217.75
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         THE WILLIAMSBURG HOTEL BK LLC
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                                                          Primary Account #:              438-0021596




#3458       03/28        $587.45                 #3459         03/18           $865.16




#3460       03/30        $154.10                 #3462         03/29           $3,852.84




#3466       03/30        $920.00                 #3467         03/30           $1,002.00




#3472       03/29        $1,246.91               #3474         03/29           $1,572.01




#3475       03/30        $772.63                 #3476         03/28           $2,690.27
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         THE WILLIAMSBURG HOTEL BK LLC
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                                                          Primary Account #:              438-0021596




#3480       03/28        $1,522.70               #3481         03/30           $116.50




#3483       03/29        $978.53                 #3484         03/28           $267.49




#3486       03/25        $888.00                 #3494         03/29           $3,997.07




                                                 #3498         03/25           $3,865.59
#3497       03/28        $600.00




#3499       03/28        $100.81                 #3501         03/28           $1,600.00
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         THE WILLIAMSBURG HOTEL BK LLC
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                                                          Cust Ref #:            4380021596-719-E-***
                                                          Primary Account #:              438-0021596




#3502       03/30        $400.00                 #3504         03/25           $472.43




#3508       03/30        $387.90                 #3527         03/25           $1,022.65




#3528       03/30        $450.00                 #3534         03/30           $400.00




#7080       03/25        $940.00                 #7081         03/15           $940.00




#7083       03/17        $2,493.00
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    THE WILLIAMSBURG HOTEL BK LLC                                  Page:                                    1 of 3
    PAYROLL ACCOUNT                                                Statement Period:      Mar 01 2022-Mar 31 2022
    96 WYTHE AVE                                                   Cust Ref #:              4380021603-719-E-***
    BROOKLYN NY 11249                                              Primary Account #:                438-0021603




Overdraft Policy Change Effective April 8, 2022

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $10, you may now overdraw your account by up to $50 without TD charging you an overdraft fee.

For Business Checking accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account
Analysis. Please contact your Treasury Management Officer for further details.
TD Business Premier Checking
THE WILLIAMSBURG HOTEL BK LLC                                                                     Account # 438-0021603
PAYROLL ACCOUNT


ACCOUNT SUMMARY
Beginning Balance                      5,042.20                           Average Collected Balance             63,119.28
Electronic Deposits                  958,093.20                           Interest Earned This Period                0.00
                                                                          Interest Paid Year-to-Date                 0.00
Electronic Payments                  574,796.82                           Annual Percentage Yield Earned           0.00%
Other Withdrawals                    190,499.09                           Days in Period                               31
Service Charges                           30.00
Ending Balance                       197,809.49




DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/03              eTransfer Credit, Online Xfer                                                               185,426.89
                      Transfer from CK 4384910935
03/07              CCD DEPOSIT, PAYCHEX PAYROLL 96203700000945X                                                    910.46
03/07              CCD DEPOSIT, PAYCHEX PAYROLL 96203700000944X                                                    466.17
03/07              CCD DEPOSIT, PAYCHEX PAYROLL 96203700000942X                                                    420.32
03/07              CCD DEPOSIT, PAYCHEX PAYROLL 96203700000943X                                                    250.27
03/11              CCD DEPOSIT, PAYCHEX-RCX PAYROLL 96418800000871X                                                587.45
03/11              eTransfer Credit, Online Xfer                                                               194,316.64
                      Transfer from CK 4384910935
03/17              eTransfer Credit, Online Xfer                                                               188,643.89
                      Transfer from CK 4384910935
03/23              CCD DEPOSIT, PAYCHEX INC. PAYROLL YdCyELLbqnl0Sf0                                               865.16
03/24              eTransfer Credit, Online Xfer                                                               190,874.36
                      Transfer from CK 4384910935
03/31              eTransfer Credit, Online Xfer                                                               195,331.59
                      Transfer from CK 4384910935

                                                                                           Subtotal:           958,093.20




Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com
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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                       197,809.49
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                           STATEMENT OF ACCOUNT


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   PAYROLL ACCOUNT                                         Page:                                  3 of 3
                                                           Statement Period:    Mar 01 2022-Mar 31 2022
                                                           Cust Ref #:            4380021603-719-E-***
                                                           Primary Account #:              438-0021603




DAILY ACCOUNT ACTIVITY
Electronic Payments
POSTING DATE      DESCRIPTION                                                                          AMOUNT
03/11             CCD DEBIT, PAYCHEX PAYROLL 96416300000568X                                        133,831.86
03/11             CCD DEBIT, PAYCHEX TPS TAXES 96413800001479X                                       57,292.03
03/11             CCD DEBIT, PAYCHEX EIB INVOICE X96412300000130                                        946.52
03/11             CCD DEBIT, PAYCHEX-HRS HRS PMT 39601252                                               365.38
03/14             CCD DEBIT, PAYCHEX EIB INVOICE X96419700009824                                      1,099.22
03/14             CCD DEBIT, PAYCHEX CGS GARNISH COL0102858219                                          192.75
03/18             CCD DEBIT, PAYCHEX - RCX PAYROLL 96509000001135X                                  131,819.50
03/18             CCD DEBIT, PAYCHEX TPS TAXES 96506200004118X                                       55,927.72
03/21             CCD DEBIT, PAYCHEX-OAB INVOICE 96515000014556X                                      1,524.25
03/21             CCD DEBIT, PAYCHEX EIB INVOICE X96511900010077                                      1,035.21
03/25             CCD DEBIT, PAYCHEX - RCX PAYROLL 96594600000271X                                  133,110.37
03/25             CCD DEBIT, PAYCHEX TPS TAXES 96594300001467X                                       56,571.24
03/25             CCD DEBIT, PAYCHEX CGS GARNISH COL0103016513                                          192.75
03/28             CCD DEBIT, PAYCHEX EIB INVOICE X96598200011132                                        888.02
                                                                                Subtotal:           574,796.82
Other Withdrawals
POSTING DATE      DESCRIPTION                                                                          AMOUNT
03/04             DEBIT, Levy #1039946                                                                6,042.20
                    L NY Taxation
03/10             WIRE TRANSFER OUTGOING, Paychex Of New York                                       184,426.89
03/10             WIRE TRANSFER FEE                                                                      30.00
                                                                                Subtotal:           190,499.09
Service Charges
POSTING DATE      DESCRIPTION                                                                          AMOUNT
03/31             MAINTENANCE FEE                                                                          30.00
                                                                                Subtotal:                  30.00


DAILY BALANCE SUMMARY
DATE                                   BALANCE                   DATE                                 BALANCE
02/28                                  5,042.20                  03/18                               4,090.22
03/03                                190,469.09                  03/21                               1,530.76
03/04                                184,426.89                  03/23                               2,395.92
03/07                                186,474.11                  03/24                             193,270.28
03/10                                  2,017.22                  03/25                               3,395.92
03/11                                  4,485.52                  03/28                               2,507.90
03/14                                  3,193.55                  03/31                             197,809.49
03/17                                191,837.44


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    THE WILLIAMSBURG HOTEL BK LLC                                  Page:                                    1 of 3
    96 WYTHE AVE                                                   Statement Period:      Mar 01 2022-Mar 31 2022
    BROOKLYN NY 11249                                              Cust Ref #:              4380021611-717-E-***
                                                                   Primary Account #:                438-0021611




Overdraft Policy Change Effective April 8, 2022

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $10, you may now overdraw your account by up to $50 without TD charging you an overdraft fee.

For Business Checking accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account
Analysis. Please contact your Treasury Management Officer for further details.
TD Business Convenience Plus
THE WILLIAMSBURG HOTEL BK LLC                                                                     Account # 438-0021611


ACCOUNT SUMMARY
Beginning Balance                      119,620.46                         Average Collected Balance             39,579.06
Electronic Deposits                    143,796.94                         Interest Earned This Period                0.00
Other Credits                           13,344.89                         Interest Paid Year-to-Date                 0.00
                                                                          Annual Percentage Yield Earned           0.00%
Electronic Payments                    146,041.17                         Days in Period                               31
Other Withdrawals                      119,620.46
Service Charges                             25.00
Ending Balance                          11,075.66



DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/21              eTransfer Credit, Online Xfer                                                               143,796.94
                      Transfer from CK 4384910935

                                                                                           Subtotal:           143,796.94
Other Credits
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/10              CREDIT, Levy #1039946                                                                        13,344.89
                      L NY Taxation

                                                                                           Subtotal:            13,344.89
Electronic Payments
POSTING DATE       DESCRIPTION                                                                                     AMOUNT
03/25              ELECTRONIC PMT-WEB, NYC DEPT OF FINA TAXPAYMENT 470257152                                   141,033.19
03/28              CCD DEBIT, NYS DTF BILL PYT TAX PAYMNT 000000081643221                                        5,007.98
                                                                                           Subtotal:           146,041.17




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    How to Balance your Account                                                                                                               Page:                                   2 of 3

    Begin by adjusting your account register                        1.   Your ending balance shown on this
    as follows:                                                          statement is:
                                                                                                                                             Ending                         11,075.66
•   Subtract any services charges shown                                                                                                      Balance
    on this statement.                                              2.   List below the amount of deposits or
                                                                         credit transfers which do not appear
•   Subtract any automatic payments,                                     on this statement. Total the deposits                               Total             +
    transfers or other electronic with-                                                                                                     Deposits
                                                                         and enter on Line 2.
    drawals not previously recorded.
•   Add any interest earned if you have                             3.   Subtotal by adding lines 1 and 2.
    an interest-bearing account.
                                                                    4.   List below the total amount of                                     Sub Total
•   Add any automatic deposit or
    overdraft line of credit.                                            withdrawals that do not appear on
                                                                         this statement. Total the withdrawals
•   Review all withdrawals shown on this                                 and enter on Line 4.                                                Total    -
    statement and check them off in your                                                                                                  Withdrawals
    account register.                                               5.   Subtract Line 4 from 3. This adjusted
•   Follow instructions 2-5 to verify your                               balance should equal your account
    ending account balance.                                              balance.                                                           Adjusted
                                                                                                                                            Balance




                                                                                                                                     Total
     Total Deposits                                                                                                                  Withdrawals


    FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR                                          FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS
    QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:                                           SUMMARY
    If you need information about an electronic fund transfer or if you believe there is an    In case of Errors or Questions About Your Bill:
    error on your bank statement or receipt relating to an electronic fund transfer,           If you think your bill is wrong, or if you need more information about a transaction on
    telephone the bank immediately at the phone number listed on the front of your             your bill, write us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
    statement or write to:                                                                     possible. We must hear from you no later than sixty (60) days after we sent you the
    TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,                           FIRST bill on which the error or problem appeared. You can telephone us, but doing
    Maine 04243-1377                                                                           so will not preserve your rights. In your letter, give us the following information:
    We must hear from you no later than sixty (60) calendar days after we sent you the            • Your name and account number.
    first statement upon which the error or problem first appeared. When contacting the           • The dollar amount of the suspected error.
    Bank, please explain as clearly as you can why you believe there is an error or why           • Describe the error and explain, if you can, why you believe there is an error.
    more information is needed. Please include:                                                     If you need more information, describe the item you are unsure about.
                                                                                               You do not have to pay any amount in question while we are investigating, but you
       • Your name and account number.
       • A description of the error or transaction you are unsure about.                       are still obligated to pay the parts of your bill that are not in question. While we
       • The dollar amount and date of the suspected error.                                    investigate your question, we cannot report you as delinquent or take any action to
                                                                                               collect the amount you question.
    When making a verbal inquiry, the Bank may ask that you send us your complaint in
    writing within ten (10) business days after the first telephone call.                      FINANCE CHARGES: Although the Bank uses the Daily Balance method to calculate
                                                                                               the finance charge on your Moneyline/Overdraft Protection account (the term "ODP"
    We will investigate your complaint and will correct any error promptly. If we take more
                                                                                               or "OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
    than ten (10) business days to do this, we will credit your account for the
                                                                                               on the periodic statement as an easier method for you to calculate the finance
    amount you think is in error, so that you have the use of the money during the time it
                                                                                               charge. The finance charge begins to accrue on the date advances and other debits
    takes to complete our investigation.
                                                                                               are posted to your account and will continue until the balance has been paid in full.
    INTEREST NOTICE                                                                            To compute the finance charge, multiply the Average Daily Balance times the Days in
    Total interest credited by the Bank to you this year will be reported by the Bank to the   Period times the Daily Periodic Rate (as listed in the Account Summary section on
    Internal Revenue Service and State tax authorities. The amount to be reported will be      the front of the statement). The Average Daily Balance is calculated by adding the
    reported separately to you by the Bank.                                                    balance for each day of the billing cycle, then dividing the total balance by the number
                                                                                               of Days in the Billing Cycle. The daily balance is the balance for the day after
                                                                                               advances have been added and payments or credits have been subtracted plus or
                                                                                               minus any other adjustments that might have occurred that day. There is no grace
                                                                                               period during which no finance charge accrues. Finance charge adjustments are
                                                                                               included in your total finance charge.
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                                                           STATEMENT OF ACCOUNT


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                                                           Statement Period:    Mar 01 2022-Mar 31 2022
                                                           Cust Ref #:            4380021611-717-E-***
                                                           Primary Account #:              438-0021611




DAILY ACCOUNT ACTIVITY
Other Withdrawals
POSTING DATE      DESCRIPTION                                                                          AMOUNT
03/04             DEBIT, Levy #1039946                                                              119,495.46
                    L NY Taxation
03/04             LEVY FEE, Levy #1039946                                                                  125.00
                    PROCESSING FEE

                                                                                Subtotal:           119,620.46
Service Charges
POSTING DATE      DESCRIPTION                                                                          AMOUNT
03/31             MAINTENANCE FEE                                                                           25.00
                                                                                Subtotal:                   25.00


DAILY BALANCE SUMMARY
DATE                                   BALANCE                   DATE                                 BALANCE
02/28                                119,620.46                  03/25                               16,108.64
03/04                                      0.00                  03/28                               11,100.66
03/10                                 13,344.89                  03/31                               11,075.66
03/21                                157,141.83




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xxxxxx
Bank Deposits FDIC Insured | TD Bank, N.A. | Equal Housing Lender
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